      Case 1:17-md-02800-TWT Document 577-2 Filed 03/01/19 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                              MDL Docket No. 280
IN RE: EQUIFAX, INC.
CUSTOMER DATA SECURITY                        Case No. 17-MD-2800
BREACH LITIGATION
                                              Chief Judge Thomas W. Thrash, Jr.

                       CERTIFICATE OF CONFERENCE

      Pursuant to Case Management Order Nos. 1 and 5 in the above reference

matter, I hereby certify that on February 15, 2019 I corresponded via email with

counsel David Balser for Defendant Equifax regarding the filing of Plaintiffs’

Motion to Establish a Separate Track for Tribal Governments Actions.

      As of the date of this filing, no counsel for the Defendant Equifax has

responded to my inquiry regarding their consent or opposition to the relief requested.

Dated: March 1, 2019

                                          Respectfully Submitted,


                                             /s/ T. Roe Frazer II
                                          T. Roe Frazer II
                                          Patrick D. McMurtray
                                          Thomas Roe Frazer III
                                          FRAZER PLC
                                          1 Burton Hills Blvd., Ste 215



                                          1
Case 1:17-md-02800-TWT Document 577-2 Filed 03/01/19 Page 2 of 2




                                Nashville, TN 37215
                                (615) 647-6464
                                roe@frazer.law

                                Attorneys for Plaintiffs




                               2
